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                IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF PENNSYLVANIA

CARLOS VEGA                                           CIVIL ACTION
            and
JOSEPH WHITEHEAD, JR.                                 NO. 19-4039

                                  Plaintiffs,         JURY TRIAL DEMANDED
                     v.

CITY OF PHILADELPHIA
                and
LAWRENCE S. KRASNER

                                  Defendants.

                                fPROPOSEDI ORDER

       AND NOW, this              day of                            , 2022, upon

consideration of Plaintiffs' Motion in Limine to Preclude Testimony and Evidence of or

Related to (A) Statements Made by Plaintiff Vega and Defendant Krasner During Or In

Connection With Their Campaigns Relating to the 2021 Democratic Primary Election

For Philadelphia DA, and (8) the Lawsuit Plaintiff Vega Filed in May 2021 In State Court

In Philadelphia, and responses and replies thereto, it is hereby ORDERED that the

Motion is GRANTED, and that:

       1.    The parties are precluded from presenting or eliciting testimony or

evidence of or related to statements made by Plaintiff Vega and Defendant Krasner

during or in connection with their campaigns relating to the 2021 Democratic primary

election for Philadelphia DA.
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       2.     The parties are precluded from presenting or eliciting testimony or

evidence of or relating to the lawsuit Plaintiff Vega filed in state court captioned Carlos

Vega v. Shaun Kinq, et al., CCP Philadelphia, May 2021, No. 00305.


                                                  BY THE COURT:



                                                  GENE E.K. PRATTER
                                                  United States District Judge
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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA

CARLOS VEGA
            and
JOSEPH WHITEHEAD, JR.                                     NO. 19-4039
                                   Plaintiffs,
                 v.                                       JURY TRIAL DEMANDED
CITY OF PHILADELPHIA
                and
LAWRENCE S. KRASNER
                                   Defendants

         PLAINTIFFS' MOTION IN L/MINE TO PRECLUDE TESTIMONY AND
      EVIDENCE OF OR RELATED TO (A) STATEMENTS MADE BY PLAINTIFF
      VEGA AND DEFENDANT KRASNER DURING OR IN CONNECTION WITH
       THEIR CAMPAIGNS RELATING TO THE 2021 DEMOCRATIC PRIMARY
      ELECTION FOR PHILADELPHIA DA, AND (B) THE LAWSUIT PLAINTIFF
          VEGA FILED IN MAY 2021 IN STATE COURT IN PHILADELPHIA

       For the reasons set forth in the accompanying Memorandum of Law, Plaintiffs

respectfully request that this Court enter the proposed form of Order submitted

herewith, precluding the parties from presenting testimony or evidence of or related to

(a) statements made by Plaintiff Vega and Defendant Krasner during or in connection

with their campaigns relating to the 2021 Democratic primary election for Philadelphia

DA, and (b) the lawsuit Plaintiff Vega filed in state court captioned Carlos Vega v.

Shaun King, et al., CCP Philadelphia, May 2021, No. 00305.

 /s/Robert A. Davitch                            /s/Sidney L. Gold
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 Attorneys for Plaintiffs                        Attorneys for Plaintiffs

Date: July 1, 2022
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                IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF PENNSYLVANIA

CARLOS VEGA                                             Cy111~_[~~[~] `I
            and
JOSEPH WHITEHEAD, JR.                                   NO. 19-4039

                                   Plaintiffs,          JURY TRIAL DEMANDED
                      v.

CITY OF PHILADELPHIA
                and
LAWRENCE S. KRASNER
                                   Defendants.

         MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS' MOTION
         IN LIMINE TO PRECLUDE TESTIMONY AND EVIDENCE OF OR
        RELATED TO (A) STATEMENTS MADE BY PLAINTIFF VEGA AND
       DEFENDANT KRASNER DURING OR IN CONNECTION WITH THEIR
     CAMPAIGNS RELATING TO THE 2021 DEMOCRATIC PRIMARY ELECTION
        FOR PHILADELPHIA DA, AND (B) THE LAWSUIT PLAINTIFF VEGA
            FILED IN MAY 2021 IN STATE COURT IN PHILADELPHIA

I.     INTRODUCTION AND FACTUAL BACKGROUND

       Plaintiffs, Carlos Vega and Joseph Whitehead, Jr., join in bringing this age

discrimination in employment action against their former employer, the City of

Philadelphia ("City"), and the City's District Attorney ("DA"), Lawrence Krasner.

Plaintiffs were career prosecutors who were hired by the City in the 1980s to work in the

District Attorney's Office ("DAO"). Doc. Nos. 56-58: Memorandum of Judge Pratter re:

Def. Motion for Summary Judgment, 9/17/2021 ("SJ Mem.") at p. 1.

       In November 2017, Mr. Krasner was elected as DA of the City for afour-year

term, and he was sworn into office on January 2, 2018. SJ Mem. at 1. On January 5,

2018, Mr. Krasner, as the decisionmaker, terminated the employment of 30 attorneys at

the DAO, including Plaintiffs, 20 of whom were above the age of 40. Id. at 1 and 12 n.5.

This case is about whether the ages of Plaintiffs (61 and 64, respectively) motivated Mr.
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Krasner to terminate their employment with the City.

       While serving his first term as DA, Mr. Krasner announced that he would be run

for a second four-year term. In December 2020 (nearly three years after his

employment with the City was terminated), Mr. Vega announced that he would

challenge Mr. Krasner in the May 18, 2021 Democratic primary election for DA (the

"Primary" or "Primary election"). Throughout the course of their respective campaigns

for DA, prior to the Primary election. Mr. Vega and Mr. Krasner touted their

qualifications, explained why each was more qualified for DA than the other, engaged in

political discourse, and participated in public debates. Ultimately, Mr. Krasner defeated

Mr. Vega in the Primary election, which paved the way for Mr. Krasner to win re-election

for a second four-year term as DA in November 2021, when he defeated his Republican

opponent.

       On May 14, 2021, with the Primary election four days away, Mr. Vega

commenced a lawsuit against Shaun King, Real Justice PAC, and Lawrence Krasner for

DA in the Philadelphia Court of Common Pleas, captioned Carlos Vega v. Shaun Kinq,

et al., CCP Philadelphia, May 2021, No. 00305 (the "State Court Action"). Doc. No. 54-

1, Ex. 1. The State Court Action alleges that the three defendants named therein

caused Mr. Vega to be placed in a false light before the public and engaged in an illegal

conspiracy to harm Mr. Vega, based on statements published about Mr. Vega beginning

in April 2021, when Mr. Vega was running against Mr. Krasner in the Primary. Doc. No.

54-1, Ex. 1 at ¶¶61-94, 134-148. The State Court Action is presently pending.

      On June 4, 2021, while Defendants' motion for summary judgment in this action

was under consideration, Defendants filed a motion for leave to file a supplemental brief



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in support of the summary judgment motion ("Motion to Supplement Record"). The

Motion to Supplement Record was based on certain allegations made by Mr. Vega in

his Complaint in the State Court Action Doc. No. 54. Defendants argued in the Motion

to Supplement Record that those averments by Mr. Vega were admissions that his

employment with the City was terminated for reasons other than his age. Doc. No. 54:

Motion to Supplement Record at ¶ 6; Doc. No. 54-1: Def. Proposed Supplemental Brief

at pp. 1-3. Defendants advocated in the Motion to Supplement Record that the

purported admissions established that Mr. Vega's "age discrimination claims cannot

survive summary judgment." Doc. No. 54-1: Def. Proposed Supplemental Brief at p. 3.'

       On June 15, 2021, Mr. Vega filed his opposition to Defendants' Motion to

Supplement Record, in which he argued that he made no admission in his Complaint in

the State Court Action that entitled Defendants to summary judgment, or established

that his termination was unrelated to his age. Doc. No. 55: PI. Proposed Supplemental

Brief at pp. 1-6. Mr. Vega pointed out in his response to the Motion to Supplement

Record that the State Court Action Complaint specifically alleged that the termination of

his employment with City was "illegal" because it violated the ADEA and the PHRA, and

that if Mr. Krasner harbored a grudge against Mr. Vega because of the outcome of the

Scott/Muhammed trial, it did not mean Mr. Vega was not discharged because of his

age. Id.: PI. Proposed Supplemental Brief at pp. 1-3; Doc. No. 54-1, Ex. 1 at ¶47. In

fact, Mr. Vega's termination could not have been "illegal" if it was motivated by personal



1 Defendants specifically relied on averments of the Complaint in the State Court Action
that "Krasner has never gotten over being handily beaten by Mr. Vega [in the
Scott/Muhammed trial], and swore to get revenge against him" and "Krasner's
longstanding malice and resent of Mr. Vega resulted in his illegal termination of Mr.
Vega[.]" Doc. No. 54-1: Proposed Supplemental Brief at pp. 2-3 and Ex. 1 at ¶¶39, 47.
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animus. Id.

       Thereafter, the Court denied Defendants' motion for summary judgment in this

case. Doc. Nos. 56-58. At the same time, the Court deemed moot Defendants' Motion

to Supplement Record, thus denying the request of Defendants to file the Motion. Id. It

appears to Plaintiffs that the Court was unpersuaded by Defendants' contention that the

averments of the Complaint in the State Court Action had any bearing on Defendants'

summary judgment motion.

       In their Pretrial Memorandum, filed on January 25, 2022, Defendants identified

Mr. Vega's entire Complaint in the State Court Action as a trial exhibit. Doc. No. 61: Def.

Exhibit List at p. 7 at D98. The evidence sought to be excluded by this motion relates to

events and communications that all occurred more than three years after Mr. Krasner

terminated Mr. Vega's employment, including those referenced in the State Court

Action. It is wholly irrelevant to the principal issues in this case, i.e., did Mr. Vega's age

motivate Defendant Krasner to discharge him on January 5, 2018, and whether Mr.

Krasner's articulated reasons for the termination are pretexts for age discrimination.

Alternatively, this evidence should be precluded pursuant to Fed.R.Evid. 403 based on

dangers of unfair prejudice, the likelihood of collateral mini-trials and misleading the

jury, and considerations of undue delay and wasting time.

II.    ARGUMENT

       A.     Standards Governing In Limine Motions

       Courts have the inherent power to exclude evidence in order to "manage the

course of trials." Luce v. United States, 469 U.S. 38, 41 n.4 (1994); see also id. at 40

n.2 (noting that purpose of a motion in limine is "to exclude anticipated prejudicial



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evidence before the evidence is actually offered"); Bradley v. Pittsburqh Bd. of Educ.,

913 F.2d 1064, 1068 (3d Cir. 1990) ("[A] motion in limine is designed to narrow the

evidentiary issues for trial and to eliminate unnecessary trial interruptions."). It is well-

settled that the admission or exclusion of evidence at a trial falls within the sound

discretion of the district court. Toledo Mack Sales & Serv., Inc. v. Mack Trucks, Inc.,

2010 U.S. App. LEXIS 13827, at *8 (3d Cir. 2010) (quoting United States v. Abel, 469

U.S. 45, 54 (1984)).

       B.     Testimony and Evidence Of and Related to (A) Statements Made by
              Plaintiff Vega and Defendant Krasner During or In Connection With
              the 2021 Primary, and (B) the State Court Action Filed By Plaintiff
              Vega In May 2021, Should Be Excluded As Irrelevant

       "In determining whether to admit evidence, a court must make the threshold

determination that the proffered evidence is relevant." N. Am. Roofing &Sheet Metal

Co., Inc. v. Bldg. Constr. Trades Council of Phila. and Vicinity, 2005 U.S. Dist. LEXIS

241, at *6 (E.D.Pa. Jan. 10, 2005). Fed.R.Evid. 401 provides that "[e]vidence is

relevant if: it has any tendency to make a fact more or less probable than it would be

without the evidence; and the fact is of consequence in determining the action"

(emphasis added). Fed.R.Evid. 402 states that "[i]rrelevant evidence is not admissible."

Thus, if evidence offered by a party has no bearing on a material element of the case, it

should be excluded. Bhaya v. Westinghouse Elec. Corp., 922 F.2d 184, 187-189 (3d

Cir. 1990); see also Inline Connection Corp. v. AOL Time Warner Inc., 470 F.Supp 2d

424, 433 (D. Del. 2007) ("[F]or a fact to be relevant it must be of consequence to the

issue under determination"); Forrest v. Beloit Corp., 424 F.3d 344, 355 (3d Cir. 2005).

       The central focus of this case, as it relates to Mr. Vega, is what motivated Mr.

Krasner to terminate Mr. Vega employment on January 5, 2018. As such, Mr. Krasner's


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own testimony regarding his knowledge and opinions of Mr. Vega as of the time he

made the decision, and Mr. Vega's opposition evidence that addresses to the issue of

pretext, is what matters most. The evidence sought to be excluded by this motion

(which would preclude all parties from presenting it) concerns events that occurred and

statements that were made in 2021. If allowed, this evidence would likely turn the trial

into aside-show of ancillary issues. Kimble v. Morgan Properties, No. Civ. A.02-CV-

9359, 2005 WL 2847266, at *4 (E.D.Pa. Oct. 25, 2005) (Court precluded from trial of

employment discrimination case as irrelevant, evidence pertaining to events that

occurred two years after decision to terminate plaintiff's employment was made).

       Mr. Vega announced in December 2020 that he was running against Mr. Krasner

in the Primary, and the campaign began in earnest in early 2021. Statements made by

Mr. Vega and Mr. Krasner during or in connection with the Primary, prior to the May 18,

2021 Primary election, have no bearing on or relevance to the discharge of Mr. Vega in

January 2018. In addition, the State Court Action was filed more than three years after

Mr. Vega's employment was terminated, and it relates to events that occurred during

the Primary beginning in April 2021. The lack of relevance of the State Court Action to

the issues in this case, in which Shaun King and his organization are named as co-

defendants, is plainly apparent. While Defendants might argue that selected averments

from the lengthy Complaint Mr. Vega filed in the State Court Action are probative of

whether he believes he was discriminated against in 2018 because of his age, this

Court was apparently unconvinced since it did allow Defendant to file their Motion to

Supplement Record. Furthermore, as Mr. Vega explained in his opposition to the

Motion to Supplement Record, the averments in his Complaint in the State Court Action



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relied on by Defendants do not undermine his claim that he was discharged by Mr.

Krasner "illegally" because of his age. In addition, Defendants have identified as a trial

exhibit the entire Complaint in the State Court Action, which consists of 150 paragraphs

and lengthy exhibits which are irrelevant to this case. Doc. No. 54-1, Ex. 1.

       C.     Alternatively, Testimony and Evidence Of and Related to (A)
              Statements Made by Plaintiff Vega and Defendant Krasner During Or
              In Connection With the 2021 Primary, and (B) the State Court Action
              Filed By Mr. Vega In May 2021, Should Be Excluded Because Its
              Probative Value, If Any, Is Substantially Outweighed by Dangers of
              Unfair Prejudice, Confusion, Waste of Time, and Undue Delay

       Fed.R.Evid. 403 provides that relevant evidence may be excluded "if its probative

value is substantially outweighed by a danger of one or more of the following: unfair

prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or

needlessly presenting cumulative evidence." "Rule 403 recognizes that a cost/benefit

analysis must be employed to determine whether or not to admit the evidence."

Coleman v. Home Depot, Inc., 306 F.3d 1333, 1343 (3d Cir. 2002). In determining

whether to admit or exclude evidence under Rule 403, "the proper equation places on

one side the maximum reasonable probative force for the offered evidence, while the

other side of the equation should include the likely prejudicial impact of the evidence."

Id. at 1344 (quotation omitted). Furthermore, "evidence may be excluded [under Rule

403] if its probative value is not worth the problems that its admission may cause." Id.

at 1343.

       Even if the evidence sought to be precluded had any probative value, it should

be precluded under Rule 403. Allowing its admission would inevitably lead to litigation

of extraneous issues involving the 2021 Primary and the 2021 State Court Action, which

would likely distract the jury's attention from the main issues. Blancha v. Raymark

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Indus., 972 F.2d 507, 516 (3d Cir. 1992) (citing United States v. Dennis, 625 F.2d 782,

7g7 (gtn Cir. 1980)); see also Snodgrass v. Ford Motor Co., Civ. A. No. 96-1814, 2002

WL 485688, at *12 (D.N.J. Mar. 28, 2002). Courts have found that evidence of separate

litigation between the same parties is either not relevant or has minimal probative value

that is outweighed by the dangers identified in Rule 403. Wonderland NurseryGoods

Co., Ltd. v. Thorley Indust., LLC, Civil Action No. 12-196, 2014 WL 289446, at *2 (W.D.

Pa. Jan. 22, 2014). Allowing any proof of statements made by Mr. Vega and Mr.

Krasner during the Primary would open the door for amini-trial on issues unrelated to

whether Mr. Vega's employment was terminated in 2018 because of his age. Similarly,

allowing the admission of evidence related to the State Court Action, including the

pleadings filed therein, would likely lead to a separate mini-trial that would involve

testimony relating to Mr. Vega's State Court Action claims and the proof supporting

them; his reasons for filing the State Court Action; Mr. Krasner's defenses to the State

Court Action; and the defenses of Mr. King. This would waste time, cause needless

delay, and divert the jury's attention from the main issues.2




z Defendants cannot extract several paragraphs from Mr. Vega's lengthy Complaint in
the State Court Action and seriously argue that Mr. Vega cannot present evidence in
rebuttal.
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III.   CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that this Court enter the

proposed form of Order submitted herewith, precluding testimony or evidence of or

relating to (a) comments and statements made by Mr. Vega and Mr. Krasner during the

2021 Primary, and (b) the State Court Action filed by Mr. Vega in May 2021.




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Date: July 1, 2022




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            and
JOSEPH WHITEHEAD, JR.                                  NO. 19-4039

                            Plaintiffs,                JURY TRIAL DEMANDED
                     v.


CITY OF PHILADELPHIA
                and
LAWRENCE S. KRASNER
                     Defendants.

                              CERTIFICATE OF SERVICE

      I, Robert A. Davitch, hereby certify that the attached Motion and Memorandum of

Law has been served via electronic service of the Court, and is available for viewing

and downloading on the Court's ECF system, upon the following counsel of record:

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                                                /s/Robert A. Davitch
                                               ROBERT A. DAVITCH
                                               Attorney for Plaintiffs
Dated: July 1,2022
